                           Case 3:19-mj-08804-RFC Document 1 Filed 10/07/19 Page 1 of 3



ttO   91   (Rev 08/09)    Criminal Complaint



                                               UNITED STATES DISTRICT COURT
                                                                            lbr the
                                                                                                                            2i1           OCT      7   j   Q:   19
                                                              Western District ol Texas

                         United States of America                              )

                                        V.

                           Julian Ray CENTENO                                  )      Case No.


                              Matthew Gabriel                                  )                                                           (f)LL"j
                                GUZMAN
                                  D/,Idan,($)



                                                              CR1i'1lNAL CO1PLAINT

              I. the complainant in this case. state that the lol lowing is true to the best ol' my knowledge and belief.

On or about the date(s)            of                            2019                 in the county   of'                         El      Paso                  in the

           Western            District of             Texas             .   the defendant(s) violated:

                 Code Section                                                        Otfimse Description
8 U.S.C. 1324            (a)(1)(A)(ii) and             knowing and in reckless disregard of the fact that an alien has come to,
(a)(1)(B)(i)                                           entered, and remained in the United States in violation of law, did transport,
                                                       move, and attempt to transport and move such alien within the United States in
                                                       lurtherance ol said violation ol law, for the purpose ol commercial advantage
                                                       and private linancial gain.




              This criminal complaint is based on these facts:
SEE AFFIDAVIT




              1$ Continued on the attached sheet.




                                                                                      (
                                                                                                            I   '-'______-
                                                                                                            ?O1I?à')/Uill(ilhI   v   .vigiu:lurc
                                                                                          \




Sworn to before me and signed in my presence.


Date:                    1O7/2019
                                                                                                                       S   .vigndilure


City and state:                                 El Paso, Texas                            Robert F. Castaneda, (4.S. Magistrate Judge
                                                                                                            /',,,,k(/ndune       (ilt(/   11,/c
         Case 3:19-mj-08804-RFC Document 1 Filed 10/07/19 Page 2 of 3




                                         AFFIDAVIT

On October 4, 2019, Homeland Security Investigations (HST) Border Enforcement Security
Taskforce (BEST) Special Agents (SAs) received a call from Border Patrol Agents (BPAs)
assigned to the US Border Patrol Checkpoint at 5542 Highway 62/180 at Desert Haven, Texas,
regarding two United States Citizens who had been arrested for violations of 8 United States
Code, Section 1324, Transporting an Alien in the United States.

At approximately 2045 hours, HSI BEST SAs responded to the US Border Patrol Checkpoint at
5542 Highway 62/180 at Desert Haven, Texas and contacted BPAs who advised the following:

That at approximately 1855 hours, BPAs were working the primary inspection area of the US
Border Patrol Checkpoint on Highway 62/180 at Desert Haven, Texas when a white 2012
Chevrolet Malibu bearing Texas License Plate (TLP) KZN3434 entered the primary checkpoint
lane for inspection. Upon initial contact with the rear seat passenger (later charged as a Material
Witness (MW) under 18 USC Section 3144) BPAs became suspicious when the MW would not
address them directly when asked his/her citizenship but would look at the driver for
confirmation. Based on that fact, BPAs requested the driver move the vehicle to the secondary
inspection lane, which he did. BPAs then asked all occupants to exit the vehicle and upon
questioning of the MW, he/she openly admitted that he/she was not in possession of immigration
papers allowing him/her to enter, remain in, or travel inside the United States legally. The MW,
a citizen and national of Ecuador, told the BPAs that he/she had crossed illegally into the United
States through the southern United States border with Mexico on October 3, 2019, not at a
designated point of entry and without presenting himself/herself for inspection by an
immigration officer.

All three (3) subjects were arrested and advised of their rights per Miranda. All three (3)
subjects stated that they would speak with BPAs without the presence of an attorney.

The below is an interview summary. It is not intended to be a verbatim account and does not
memorialize all statements made during the interview.

During interviews, the driver, identified as Julian Ray CENTENO, stated that he had agreed to
take a job, through a friend of his, that involved driving from Houston, Texas to El Paso, Texas
in order to pick up and transport illegal aliens (lAs) for money. CENTENO stated that he had in
fact driven from Houston, Texas to El Paso, Texas on October 3, 2019, had met with a subject
and had taken custody of the MW, who he believed was illegally inside the United States at the
time he agreed to transport the MW to Houston, Texas. After taking custody of the MW,
CENTENO was paid approximately $800 to then transport the MW back to Houston, Texas and
was on his way to Houston, Texas when he stopped at the Border Patrol Checkpoint on Highway
62/180, initiating this incident.
           Case 3:19-mj-08804-RFC Document 1 Filed 10/07/19 Page 3 of 3




The subject who had been the front seat passenger, identified as Matthew Gabriel GUZMAN,
told BPAs that he had been contacted by CENTENO who agreed to pay him half of the money
he received for transporting lAs from El Paso, Texas to Houston, Texas if GUZMAN would
accompany CENTENO on the trip. GUZMAN agreed to travel with CENTENO to El Paso,
Texas for the purpose of transporting lAs back from El Paso, Texas to Houston, Texas for profit.
GUZMAN further stated that CENTENO had originally told him that they were to pick up four
(4) lAs and be paid $2400, but that once they arrived in El Paso, Texas, only one (1) of the lAs
was ready to be transported to Houston, Texas. GUZMAN confirmed that he and CENTENO
had met with a subject and had taken custody of the MW, which they believed was in the United
States illegally, in order to transport him/her back to Houston, Texas. GUZMAN also confirmed
that they had been paid for transporting the MW to Houston, Texas by the same subject who had
transferred the MW to their custody.

F{Sl SAs arrived and after being briefed by BPAs, contacted CENTENO, GUZMAN and the
MW. All three confirmed the information that was previously told to the BPAs during the initial
interviews. Both CENTENO and GUZMAN confirmed that they had traveled from Houston,
Texas to El Paso, Texas and had taken custody of the MW, knowing he/she was illegally in the
United States. Both subjects confirmed that they were in the process of transporting that IA back
to Houston, Texas and had been paid for doing so.

All three (3) subjects were processed at the Border Patrol Checkpoint and were then transferred
to HSI SAs custody for lodging in the El Paso County Jail.

BEST agents contacted and presented the case to the duty Assistant United States Attorney. The
case was accepted for federal prosecution.

The above information is personally known to me based on my own investigation or has been
related to me by other individuals, including law enforcement officers involved in the
investigation. This Affidavit is being submitted for the limited purpose of establishing probable
cause as set forth herein, therefore, I have not included each and every fact known to me
concerning this investigation.
